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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF TEXAS
                             - SAN ANTONIO DIVISION -

 TERESITA LOPEZ, Individually and                  §
 on behalf of the ESTATE OF JESUS                  §
 JOSE “J.J.” LOPEZ, Deceased                       §
                                                   §
 V.                                                §         CIVIL ACTION NO. 5:18-cv-00711
                                                   §
 BEXAR COUNTY, TEXAS; SHERIFF                      §                         (JURY DEMANDED)
 SUSAN PAMERLEAU, Individually;                    §
 LIEUTENANT CHARLES CAGLE,                         §
 Badge No. 2721, Individually;                     §
 DEPUTY ANDRES ALDANA, Badge                       §
 No. 1014, Individually; and DEPUTY                §
 HERIBERTO RIVERA, Badge No.                       §
 3035, Individually                                §



         PLAINTIFFS’ ORIGINAL COMPLAINT & DEMAND FOR JURY TRIAL


       Plaintiff, TERESITA LOPEZ, Individually and on behalf of the ESTATE of JESUS
JOSE “J.J.” LOPEZ,        Deceased; and complaining of and about BEXAR COUNTY,
TEXAS; former BEXAR COUNTY SHERIFF SUSAN PAMERLEAU, Individually;
LIEUTENANT        CHARLES        CAGLE,         Individually;   DEPUTY        ANDRES       ALDANA,
Individually; and DEPUTY HERIBERTO RIVERA, Individually.

                                         - Introduction -

       Suicide is often the single most common cause of death in
       correctional      settings.     Jails,     prisons,      and    penitentiaries      are
       responsible for protecting the health and safety of their inmate
       populations. - “Preventing Suicides in Jails and Prisons,” World Health
       Organization, 2007.




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       Mrs. Teresita Lopez, the mother of JESUS JOSE “J.J.” LOPEZ, brings this

wrongful death and survival action for money damages and injunctive relief against

BEXAR COUNTY and the individually-named Defendants.




                                        I. PARTIES

                                        A. Plaintiffs

1.     Plaintiff, TERESITA LOPEZ (“Mrs. Lopez”) is a natural person who resides and

did reside in Bexar County, Texas, at all relevant times. Mrs. Lopez was JESUS JOSE

“J.J.” LOPEZ’s (“J.J.”) legal and biological mother. Mrs. Lopez acts herein individually

and on behalf of J.J.’s Estate. She will be referred to herein at times “Mrs. Lopez.”

                                       B. Defendants

2.     Defendant, BEXAR COUNTY, TEXAS (the “County”), is a political subdivision of

the State of Texas. This Defendant may be served with process by serving the Bexar


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County Judge, Mr. Nelson W. Wolff at 101 W. Nueva, 10th Floor, San Antonio, Texas

78205. The County funds and operates the Bexar County Adult Detention Center

(hereafter “the Bexar County jail”), employs and compensates the Bexar County jail,

and is charged with ensuring that, at all times, the Bexar County jail remains in

compliance with federal and state law. The County is a recipient of federal funds.

3.     Defendant, BEXAR COUNTY SHERIFF SUSAN PAMERLEAU (the “former

Sheriff”), may be served with process at: 100 Dolorosa, San Antonio, Texas 78205 or

wherever she may be found. At all relevant times, Susan Pamerleau was the Sheriff in

charge of the Bexar County jail, acting at all relevant times under color of state law. The

Sheriff was responsible for Jesus Jose Lopez’s safekeeping and care. She acted or

failed to act in the course and scope of her duties.     She is sued for damages in her

individual capacity.

4.     Defendant, LT. CHARLES CAGLE, badge no. 2721 (“Lt. Cagle”), is a resident of

Bexar County, Texas and may be served at his place of employment, the Bexar County

Adult Detention Center located at 200 N. Comal Street, San Antonio, Texas 78207. He

was acting under color of law. He is sued for damages in his individual capacity.

5.     Defendant, ANDRES ALDANA, badge no. 1014 (“Deputy Aldana”), is a resident

of Bexar County, Texas and may be served at his place of employment, the Bexar

County Adult Detention Center located at 200 N. Comal Street, San Antonio, Texas

78207. He was acting under color of law. He is sued for damages in his individual

capacity.




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6.     Defendant, HERIBERTO RIVERA, badge no. 3035 (“Deputy Rivera”), is a

resident of Bexar County, Texas and may be served at his place of employment, the

Bexar County Adult Detention Center located at 200 N. Comal Street, San Antonio,

Texas 78207. He        was acting under color of law.      He is sued for damages in his

individual capacity.

                                       II. JURISDICTION

7.     Jurisdiction is invoked pursuant to 28 U.S.C. §1331 because the claims involve a

question of federal law under 42 U.S.C. §1983 and 42 U.S.C., §§12181, et seq., the

Americans with Disabilities Act (ADA), and the Rehabilitation Act, 29 U.S.C. §794.

8.     All conditions precedent to filing this action have been fulfilled.

                                          III. VENUE

9.     Venue is proper in this cause in the Western District of Texas pursuant to 28

U.S.C.§1391(a)(2) because all or a substantial part of the events which gave rise to this

cause of action occurred in the Western District of Texas.

                                          IV. FACTS

10.    Jail suicides, as the Defendants knew before incarcerating J.J., are a huge

problem in the United States. One-thousand fifty-three (1,053) people died in local jails

in 2014, three-hundred seventy-two (372) of which died as a result of suicide. The

Defendants also knew when incarcerating J.J. that most jail suicides occur by

hanging/strangulation, with prisoners using objects available to them as ligatures.

Prisoners commonly use bed linens, clothing (including drawstrings), telephone cords,

and trash bags.


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11.    Approximately 4,000 inmates, including presumed-innocent/pre-trial detainees

are housed at the Bexar County Jail, making it the 16th largest county jail in the country.1

12.    Over 800 of the inmates suffer from diagnosed mental health issues.2

13.    In 2015, there were 1,500 suicide attempts at the Bexar County Jail.3

14.    In the first six months of 2016, Bexar County Jail guards placed 712 inmates on

suicide watch.

15.    Starting in April 2016, Jesus Jose (“J.J.”) Lopez was a presumed-innocent/pre-

trial detainee held at the Bexar County Jail. Like the more than 800 others, J.J. suffered

from diagnosed mental illness.

16.    J.J. was born in December 1997, in San Antonio, Texas, to Teresita Lopez and

Jessie Travieso.     J.J. was severely mentally and intellectually troubled.      Before his

arrest, on or about April 8th, 2016, J.J. was diagnosed with major depressive disorder

and a learning disorder. People with major depressive disorder are prone to recurrent

thoughts of death, recurrent suicidal ideation, suicide attempts, or specific plans for

committing suicide as well as other symptoms including feelings of sadness, emptiness,

and hopelessness.

17.    On April 9, 2016 at approximately 1:58 a.m., J.J., who had just turned age 18 on

December 20, 2015, is booked by Bexar County Jail officials. All Bexar County Sheriff



       1
        Texas Public Racio, KSTX - San Antonio; Lessons Learned from A Night in the Bexar
County Jail; Anti-Suicide Effort is A 24/7 Job
       2
           Id.
       3
           Id.

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Department officers mentioned in this pleading were acting or failing to act in the course

and scope of their duties for Bexar County at the referenced times and under color of

state law.

18.    Based on information and belief, J.J.’s father advised local law enforcement on

April 8th or April 9th that J.J. was suffering from suicidal ideation, explaining J.J. could not

take care of himself.

19.    Between April 9th at 3:13 p.m. when the (“Initial Medical Screening”) (“screening

form”) is started to April 11th at 3:24 p.m. when the (“Last Update”) is completed, Bexar

County Jail officials learned J.J. suffered from serious mental illness. Bexar County Jail,

based on the Initial Medical Screening interview of J.J., knew J.J. had previously

received local mental health services, noting on the screening form “has hx [history] of

depression documented.”

20.    Since early April 2016, Bexar County knows J.J. is a person with a disability.




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21.    On May 7th, J.J. completes a Detention Health Care Services Sick Call Request,

placing a check mark in the space corresponding to the “MENTAL HEALTH” category.

According to J.J., he is hallucinating in that someone else besides his cell mate is in the

cell. J.J. then writes, “I’m stressing and having anxiety bad.”




22.    On May 23rd, Bexar County Jail Inmate Management Information System

Classification Report (#052316-21) reflects J.J. is “suicidal” and “going crazy.”

According to the report, J.J. “is going to hurt himself by using his towel to hang himself.”

23.    J.J. is unable to care for himself at this time.

24.    He is a danger to himself.




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25.       He is then placed on full suicidal protection (FSP) status.

26.       On May 27th, after receiving clearance, J.J. is returned to a general population

status.

27.       On June 12th, Bexar County Jail Inmate Management Information System

Classification Report (#061216-05) reflects J.J. is suicidal. According to the report, “he

wants to kill himself.”

28.       J.J. was again placed on FSP because he could not care for himself.

29.       J.J. is a danger to himself.

30.       On June 16th, J.J. is cleared to return to a general population classification.

31.       On June 16th, J.J. is placed in cell #33, a two-person cell.

32.       Cell #33 is located on the second floor - located in a corner.

33.       Since June 16th, Bexar County Jail officers, including Sheriff Pamerleau by and

through her deputies, consciously disregarded J.J.’s reasonable medical/mental health

needs, choosing to ignore internal classification reports and medical records regarding

J.J.’s suicidal tendencies, impulses and desire to harm himself. Instead of meeting

those needs, Bexar County Jail officials, including Defendants, Sheriff Pamerleau, Lt.

Cagle, Deputy Aldana and Deputy Rivera, intentionally placed J.J. in an environment

where J.J. could finally complete what he had expressed before - the taking of his own

life.   Bexar County Jail officials, including Defendants, Sheriff Pamerleau, Lt. Cagle

(who served as Shift Supervisor), Deputy Aldana and Deputy Rivera chose to put J.J, in

a cell with items like bed sheets that would enable J.J. to hang himself.




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34.    On July 14th at 7:00 a.m., the first shift for Bexar County Jail deputies charged

with safeguarding and caring for detainees started.

35.    Defendant, Lt. Cagle, was the 1st Detail Shift Commander that day.

36.    Defendants, Sheriff Pamerleau, Lt. Cagle, Deputy Aldana and Deputy Rivera

chose to ignore J.J., leaving him a cell with full knowledge that J.J. would likely attempt

to harm or kill himself, and with the physical ability to do so through the use of bed

sheets provided by Bexar County. Defendants, Sheriff Pamerleau, Lt. Cagle, Deputy

Aldana and Deputy Rivera showed a total and conscious disregard for J.J.’s safety and

medical needs. Defendants, Sheriff Pamerleau, Lt. Cagle, Deputy Aldana and Deputy

Rivera also failed to provide any reasonable accommodation for J.J.’s medical needs.

In fact, they provided no accommodation whatsoever for J.J.’s significant medical

needs, his mental health issues, and his suicidal tendencies.

37.    Furthermore, Bexar County, during the entire relevant time period described in

this pleading, did not have continuous monitoring of suicidal detainees nor did it have in

place any video and/or audio monitoring equipment which captured J.J.’s cell in a

manner allowing him to be monitored and/or watched by Bexas County Jail deputies

and staff. J.J. remained unmonitored and unable to care for himself.

38.    Later that July 14th morning, based on information and belief, at approximately

8:23 a.m., Defendant Aldana discovered J.J. with a bed sheet wrapped around his neck.

39.    According to internal Bexar County Jail documents, Defendant Aldana reported

J.J.’s cell mate was asleep when he found J.J. Code 1 blue was called by Defendant

Aldana.


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40.    Based on information and belief, during the early morning hours of July 14th, J.J.

was not continuously monitored by Bexar County.

41.    Based on information and belief, due to the shift change at 7:00 a.m. that day,

J.J. had not been monitored within the past 60 minutes by Defendants, Lt. Charles

Cagle, Deputy Aldana nor Deputy Rivera.

42.    J.J. was then transported to University Hospital

43.    J.J. was pronounced dead on July 15th at 6:25 p.m. after University Hospital tests

showed no brain activity. The autopsy findings reflect “Asphyxia by hanging.”

44.    At the time of his death, J.J. was merely 18 years old.

45.    Despite knowing J.J. was suicidal, Bexar County did not continuously monitor

J.J. as there was no closed circuit television available to suicidal detainees.

46.    Based on information and belief, even today the Bexar County Jail does not have

continuous monitoring of suicidal detainees - either through trained staff or video/audio

monitoring.

47.    Moreover, based on information and belief, Bexar County Jail officials (during his

three month detention) failed to update J.J.’s computer profile to reflect his suicidal

episodes, which would have allowed staff to monitor and accommodate his disabilities.




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48.    According to Texas Attorney General’s Custodial Death Report Database, from

2013 to present, the following persons committed suicide while detained at the Bexar

County Jail:

       Name                            Age      Date of Death

       Danny Puenta                    56      8/28/2013
       Nathaniel Gamez                 26      2/7/2014
       Felix Chavarria                 33      11/27/2014
       Thomas C. Voigt                 42      6/21/2015
       Rodolfo Palafos                 54      7/5/2015
       Calvin J. Johnson               33      11/10/2015
       Victor D. Casas                 41      6/28/2016
       Jonathan E. Campos              22      7/9/2016
       Jesus J. Lopez                  18      7/15/2016
       Melvin E. McKinney              41      7/22/2016
       Ricardo Gamez                   54      12/4/2016
       Skylab Gonzalez                 36      10/3/2017
       Anthony Luna                    27      10/21/2017
       Domingo Altamirano              32      5/3/2018

49.    Based on information and belief, there is was an additional suicide in 2014, which

is not reported.

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50.    Like J.J., Jonathan Eric Campos (just 5 days earlier) committed suicide by

hanging on or about July 9, 2016. Based on information and belief, he was also found at

approximately 8:00 a.m. - just 1 hour into that day’s 1st shift.

51.    Over twenty-five years ago, in November 1991, the Texas Commission on Jail

Standards published the Guide for Development of Suicide Prevention Plans. Even that

long ago, when society and medical professionals as a whole knew much less than they

have learned over the last few years, the Commission               recommended continuous

observation for high risk, acutely suicidal inmates who had attempted suicide. Circuit

Judge Goldberg, writing a concurring opinion on behalf of the United States Court of

Appeals for the Fifth Circuit nearly 25 years ago (in 1992, unambiguously wrote that the

right to continual monitoring of prisoners with suicidal tendencies was clearly

established. In Rhyne vs. Henderson County, 973 F.2d 386 (5th Cir. 1992), the mother

of a pre-trial detainee brought suit for the death of her child. Although the mother did

not prevail, Judge Goldberg warned and put on notice all policymakers within the

jurisdiction of the United States Court of Appeals for the Fifth Circuit, regarding pre-trial

detainees in need of mental health care (and specifically those with suicidal tendencies):

       Fortunately, the policymakers in charge can learn from their mistakes and
       take the necessary additional steps to insure the safety of pretrial
       detainees in need of mental health care. Other municipalities should
       also take heed of the tragic consequences which arc likely to
       ensue in the absence of adequate safety measures to deal with
       detainees displaying suicidal tendencies.

       What we learn from the experiences of Henderson County is that
       when jailers know a detainee is prone to committing suicide, a
       policy of observing such a detainee on a periodic, rather than on a
       continuous, basis, will not suffice; that vesting discretion in untrained
       jail personnel to,assess the need for, and administer, mental health care,

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       will not be responsive to the medical needs of mentally ill detainees; and
       that delegating the task of providing mental health care to an agency that
       is incapable of dispensing it on the weekends will endanger the well-being
       of its emotionally disturbed detainees. We need not remind jailers and
       municipalities that the Constitution works day and night, weekends and
       holidays-it takes no coffee breaks, no winter recess, and no summer
       vacation.

       So the plaintiff in this case did not prove that Henderson County adopted
       its policy of handling suicidal detainees with deliberate indifference to
       their medical needs. But that does not insulate Henderson County, or any
       other      municipality, from liability in future cases. Jailers and
       municipalities beware! Suicide is a real threat in the custodial
       environment. Showing some concern for those in custody, by
       taking limited steps to protect them, will not pass muster unless
       the strides taken to deal with the risk are calculated to work:
       Employing only "meager measures that [jailers and municipalities]
       know or should know to be ineffectual" amounts to deliberate
       indifference. To sit idly by now and await another, or even the first,
       fatality, in the face ofthe Henderson County tragedy, would surely
       amount to deliberate indifference.

Id. at 395-96 (emphasis added).

       52.     The blatant constitutional violations at the Bexar County Jail

       described by this complaint were so clear that they gained media

       attention:




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  The County’s Policy, Practice, and Custom Regarding Bed Linens in Jail Cells
             Was a Moving Force Behind and Caused J.J.’s Death

53.      Upon information and belief, Defendants Sheriff Pamerleau, Lt. Cagle, Deputy

Aldana, and Deputy Rivera did absolutely nothing to modify the cell in which J.J.

committed suicide. Sheriff Pamerleau Lt. Cagle, Deputy Aldana, and Deputy Rivera

acted with deliberate indifference, and/or acted in an objectively unreasonable manner.

Removing bed linens would have been a relatively inexpensive way to have prevented

J.J.’s death. Instead, the County’s policy and practice in choosing not to remove bed

linens (after knowing that J.J. expressed wanting to commit suicide on at least two

occasions - once using a towel) proximately caused, was the producing cause, and was

a moving force behind J.J.’s death. Sheriff Pamerleau was the chief policy maker for

Bexar County regarding its jail operations at the time and, upon information and belief,

Lt. Cagle, Deputy Aldana, Deputy Rivera also had authority to remove bed linens.

      The County’s Policy, Practice, and Custom Regarding the Failure to Monitor
       Suicidal Detainees Immediately Before, During and Immediately After Shift
             Changes Was a Moving Force Behind and Caused J.J.’s Death

54.      Bexar County’s policy, practice and custom was to fail to timely monitor suicidal

detainees immediately before, during and immediately after shift changes was a moving

force behind J.J.’s death.

55.      Sheriff Pamerleau, Lt. Cagle, Deputy Aldana and Deputy Rivera were aware that

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immediately prior, during and immediately after shift changes suicidal detainees, like

J.J., go unsupervised. Sheriff Pamerleau, Lt. Cagle, Deputy Aldana and Deputy Rivera

were was aware that shift changes pose a danger in that suicidal detainees are

unsupervised/unmonitored. Despite knowing shift changes pose dangers, in that

suicidal detainees, like J.J., are more likely to go unmonitored, they took no action to

eliminate the risk of suicidal detainees. Defendants acted with deliberate indifference,

and/or acted in an objectively unreasonable manner.

56.    Bexar County’s policy and practice in choosing not to monitor suicidal detainees

during shift changes (after knowing that J.J. expressed suicidal tendencies on at least

two occasions) proximately caused, was the producing cause, and was a moving force

behind J.J.’s death. Sheriff Pamerleau was the chief policy maker for Bexar County

regarding its jail operations at the time and, upon information and belief, the Lt. Cagle

also had authority to make the necessary shift changes so that suicidal detainees can

be timely monitored.

             The County’s Policy, Practice, and Custom Regarding the
         Failure to Continuously Monitor Suicidal Detainees Was a Moving
                       Force Behind and Caused J.J.’s Death

57.    Upon information and belief, Defendants Sheriff Pamerleau, Lt. Cagle, Deputy

Aldana, and Deputy Rivera did absolutely nothing to continuously monitor J.J. Sheriff

Pamerleau Lt.       Cagle, Deputy Aldana, and Deputy Rivera acted with deliberate

indifference, and/or acted in an objectively unreasonable manner.             Instead, the

County’s policy and practice in choosing not to continuously monitor J.J. after knowing

that J.J. expressed suicidal ideation on at least two occasions proximately caused, was


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the producing cause, and was a moving force behind J.J.’s death. Sheriff Pamerleau

was the chief policy maker for Bexar County regarding its jail operations at the time and,

upon information and belief, Lt. Cagle, Deputy Aldana, Deputy Rivera also had authority

to place J.J. in continuous monitoring.

The County’s Policy, Practice, and/or Custom Regarding the Minimum Number of
      Jailers Present was a Moving Force Behind and Caused J.J.’s Death

58.    Further, upon information and belief, Bexar County’s policy, practice, and custom

regarding the minimum number of jailers present with a suicidal inmate showed

deliberate indifference. Bexar County did not require more than one jailer to be present

with a suicidal inmate. This policy was a proximate cause of, producing cause of, and a

moving force behind J.J.’s death and violation of his constitutional rights.

             The County Ratified the Natural Person Defendants’ Actions

59.    Upon information and belief, neither the County, Sheriff Pamerleau, nor Lt.

Cagle took any action to reprimand any of the deputies who failed to monitor J.J. In

fact, the County, the Sheriff and Lt. Cagle fully approved of the manner in which J.J.

was handled by the County and its employees - from beginning to end. Thus, the

County and its employees ratified the conduct of all persons mentioned in this pleading

and this confirmed the unconstitutional Bexar County policies, practices, and/or

customs.      The fact that the natural person Defendants acted together alone

demonstrates County policy, practice, and custom. In other words, the natural person

Defendants were the County, as they acted and failed to act with regard to J.J. Thus,

their joint action demonstrated County policy, practice, and custom.



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                                   V. CAUSES OF ACTION

  Cause of Action Against Sheriff Pamerleau, Lt. Charles Cagle, Deputy Rivera
   and Deputy Aldana Under 42 U.S.C. § 1983 for Violation of J.J. Lopez’s 14th
  Amendment Due Process Right to Reasonable Medical Care, to be Protected,
   and Not to be Punished as a Pre-trial Detainee (Episodic Act or Omission)

60.    Plaintiffs incorporate the allegations of paragraphs 1 through 59 above.

61.    In the alternative, without waiving any of the other causes of action pled herein,

without waiving any procedural, contractual, statutory, or common-law right, and

incorporating all other allegations herein (including all allegations in the "Factual

Allegations" section above) to the extent they are not inconsistent with the cause of

action pled here, Defendants, Sheriff Pamerleau, Lt. Cagle, Deputy Rivera and Deputy

Aldana, are liable to the Plaintiffs, pursuant to 42 U.S.C. § 1983, for violating J.J.’s right

to reasonable medical care guaranteed by the Fourteenth Amendment to the United

States Constitution. Prentrial detainees are entitled to a greater degree of medical

care than convicted inmates, according to the Fifth Circuit Court of Appeals. Sheriff

Pamerleau, Lt. Cagle and Deputies Rivera and Aldana acted and failed to act under

color of state law at all times referenced in this pleading. Sheriff Pamerleau, Lt. Cagle

and Deputies Rivera and Aldana, wholly or substantially, ignored J.J.’s suicidal

tendencies     and his obvious         serious   medical   needs, and they were deliberately

indifferent to those medical needs. Sheriff Pamerleau, Lt. Cagle and Deputies Rivera

and Aldana were aware and thoroughly knowledgeable of J.J.’s suicidal impulses due

to multiple communications regarding those impulses, as well as his serious mental

health issues. They gained this knowledge through reports reflecting J.J.’s suicidal

tendencies. Sheriff Pamerleau, Lt. Cagle and Deputies Rivera and Aldana violated

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clearly established constitutional rights, and their conduct was objectively unreasonable

in light of clearly established law at the time of the relevant incidents. Therefore, they

are not entitled to qualified immunity. Sheriff Pamerleau’s, Lt. Cagle’s and Deputies

Rivera’s and Aldana’s denial of reasonable medical care, total disregard for J.J’s health

and safety, and total disregard for J.J.’s suicidal tendencies and propensity to hurt

himself caused, proximately caused, and was a producing cause of J.J.’s death and

other damages suffered by J.J., Teresita Lopez (Independently and on behalf of the

Estate of J.J.).

62.    The United States Court of Appeals for the Fifth Circuit has held that using a

state's wrongful death and survival statutes creates an effective remedy for civil rights

claims pursuant to 42 U.S.C. § 1983. Therefore, the heirs-at-law and the Estate of J.J.

Lopez, such claims being asserted by and through Teresita Lopez, seek all remedies

and damages available under the Texas survival statute (Tex. Civ. Prac. & Rem.

Code§ 71.021), the Texas constitution, common law, and all related and/or supporting

case law. Therefore, J.J.’s estate (and his heirs at law) suffered the following damages,

for which they seek recovery:

       •       J.J.’s conscious physical pain, suffering, and mental anguish experienced
               by him prior to his death;

       •       medical expenses;

       •       funeral expenses; and

       •       exemplary/punitive damages.

63.    Plaintiff, Teresita Lopez, individually, also seeks all remedies and damages

available to her for the 42 U.S.C. § 1983 violations pursuant to the Texas Wrongful

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Death Act (Chapter 71 of the Texas Civil Practice and Remedies Code). She seeks

those damages due to the wrongful death of her biological and legal son - J.J. Lopez.

The damages suffered by Ms. Lopez were caused and/or proximately caused by Sheriff

Lt. Cagle and Deputies Rivera and Aldana.          If J.J. had lived, he would have been

entitled to bring a 42 U.S.C. § 1983 action and obtain remedies and damages provided

by Texas law.           Therefore, Lt. Cagle’s and Deputies Rivera’s and Aldana’s

actions/inactions caused, were the proximate cause of, and/or were the producing

cause of the following damages suffered by Teresita Lopez:

         •       loss of services that she would have received from her son, J.J.;

         •       expenses for J.J.’s funeral;

         •       past mental anguish and emotional distress resulting from and caused by
                 the death of her son, J.J.;

         •       future mental anguish and emotional distress resulting from and caused
                 by the death of her son, J.J.;

         •       loss of companionship and society that she would have received from her
                 son, J.J.; and

         •       exemplary/punitive damages.

Exemplary/punitive damages are appropriate in this case to deter and punish clear and

unabashed violation of J.J.’s constitutional rights.      Lt. Cagle’s and Deputies Rivera’s

and Aldana’s actions and inaction showed reckless or callous disregard of, or

indifference to, J.J.’s rights and safety.

64.      The policy, practice and custom of these Defendants of failing to provide medical

and mental health care for inmates with serious medical conditions resulted in J.J.’s

death.

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Cause of Action Against Bexar County, Sheriff Pamerleau Under 42 U.S.C. § 1983
 for Violation of J.J. Lopez’s 14th Amendment Due Process Right to Reasonable
    Medical Care to be Protected and Not to be Punished as Pre-trial Detainee
                            (Conditions of Confinement)

65.    Plaintiffs incorporate the allegations of paragraphs 1 through 59 above.

66.    In the alternative, without waiving any of the other causes of action pled herein,

without waiving any procedural, contractual, statutory, or common-law right, and

incorporating all other allegations herein (including all allegations in the "Factual

Allegations" section above) to the extent they are not inconsistent with the cause

of action pled here, Defendant Bexar County is liable to the Plaintiffs, pursuant to 42

U.S.C. § 1983, for violating J.J.’s right to reasonable medical care guaranteed              by

the Fourteenth       Amendment         to the United States Constitution. Claims in this

section are typically referred to as "conditions of confinement" claims. According to the

Fifth Circuit Court of Appeals, the deliberate indifference standard in the context of

Section 1983 claims based on official municipal policies is less stringent that the

deliberate indifference standard used for Section 1983 claims based on the isolated

actions of individual policymakers. Whereas the deliberate indifference standard for the

actions of individual policymakers requires subjective awareness of the inmate's

serious medical condition, the deliberate indifference standard for the official policy or

practice Section 1983 claim is objective. Pre-trial detainees are entitled to a greater

degree of medical care than convicted inmates, according to the Fifth Circuit Court

of Appeals. Bexar County acted or failed to act under color of state law at all relevant

times. Bexar County's custom(s) or policy(ies) caused J.J.’s death and the Plaintiffs'

resulting damages. Sheriff Susan Pamerleau was a policymaker for the County at all

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relevant times, and she was the chief policymaker at all such times for the Bexar County

Adult Detention Center, which held J.J. Her and Bexar County’s failure to adopt, upon

information and belief, an effective prisoner suicide policy was an intentional choice.

This policy should include a broad number of topics and specific policies within it. Thus,

Bexar County was deliberately indifferent regarding its prisoners with suicidal

tendencies. It had in place a general policy of inconsistently checking inmates sixty or

thirty minutes. This was a deliberate choice to violate constitutional rights, in light of 5

suicides in 13 months prior suicides a the Bexar County Jail and Judge Goldberg's 1992

admonition. This policy, as well as the failure to adopt an appropriate policy, and related

custom, were the moving forces behind the violation of J.J.’s rights and showed

deliberate indifference to the known or obvious consequences that constitutional

violations would occur.

67.    Also, upon information and belief, the County did not adequately train its deputies

regarding the handling and medical/mental health care of detainees. Just in a span of 1

month - from June 28th to July 28th 2016 - there were four suicides at the Bexar County

Jail. Based on information and belief, there was additional training provided to Bexar

County deputies, but unfortunately, that training was far too late for J.J. Importantly,

regarding deliberate indifference, the failure to conduct such training before someone

died (such as with at least two (2) prior known suicides) showed the callous and

reckless indifference by County regarding the rights of suicidal prisoners.

68.    Bexar County’s action and inaction caused, proximately caused, and was a

producing cause of J.J.’s death and other damages suffered by Teresita Lopez,


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Individually and on behalf of the Estate of J.J. Lopez. Those actions and inaction

violated J.J.’s constitutional rights.

69.    The United States Court of Appeals for the Fifth Circuit has held that using a

state's wrongful death and survival statutes creates an effective remedy for civil rights

claims pursuant to 42 U.S.C. § 1983. Therefore, the heirs-at-law and the Estate of J.J.

Lopez, such claims being asserted by and through Teresita Lopez seek all remedies

and damages available under the Texas survival statute (Tex. Civ. Prac. & Rem. Code§

71.021), Texas constitution, common law,      and/or all related and/or supporting case

law. Therefore, J.J.’s estate (and his heirs at law) suffered the following damages, for

which they seeks recovery:

       •       J.J.’s conscious physical pain, suffering, and mental anguish experienced
               by him prior to his death;

       •       medical expenses; and

       •       funeral expenses.

70.    Plaintiff, Teresita Lopez, individually, also seeks all remedies and damages

available to her for the 42 U.S.C. § 1983 violationsA pursuant to the Texas Wrongful

Death Act (Chapter 71 of the Texas Civil Practice and Remedies Code). She seeks

those damages due to the wrongful death of her biological and legal son - Jesus Jose

“J.J.” Lopez. The damages suffered by Teresita Lopez were caused and/or proximately

caused by Lt. Cagle and Defendant Deputies. If J.J. had lived, he would have been

entitled to bring a 42 U.S.C. § 1983 action and obtain remedies and damages provided

by Texas law. Therefore, Lt. Cagle and Defendant Deputies actions caused, were the

proximate cause of, and/or were the producing cause of the following damages suffered

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by Teresita Lopez:

       •       loss of services that she would have received from her son, J.J.;

       •       expenses for J.J.'s funeral;

       •       past mental anguish and emotional distress resulting from and caused by
               the death of her son, J.J.;

       •       future mental anguish and emotional distress resulting from and caused
               by the death of her son, J.J.; and

       •       loss of companionship and society that she would have received from her
               son, J.J.

                Causes of Action Against Bexar County for Violation of
                Americans with Disabilities Act and Rehabilitation Act

71.    In the alternative, without waiving any of the other causes of action pled herein,

without waiving any procedural, contractual, statutory, or common-law right, and

incorporating all other allegations herein (including all allegations in the "Factual

Allegations" section above) to the extent they are not inconsistent with the cause of

action pled here, Bexar County is liable to the Plaintiffs pursuant to the Americans with

Disabilities Act ("ADA") and federal Rehabilitation Act. Upon information and belief,

the County has been and is a recipient of federal funds.         Therefore, it is covered by

the mandate of the federal Rehabilitation Act. The Rehabilitation Act requires recipients

of federal monies to reasonably accommodate persons with mental and physical

disabilities in their facilities, program activities, and services, and also reasonably modify

such facilities, services, and programs to accomplish this purpose. Further, Title II of the

ADA applies to Bexar County and has the same mandate as the Rehabilitation Act.

Claims under both the Rehabilitation Act and ADA are analyzed similarly.


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72.     The Bexar County Jail jail/holding facility is a "facility" for purposes of both the

rehabilitation   and ADA, and the jail's        operation     comprises a program and

services for Rehabilitation Act and ADA purposes.        Jesus Jose “J.J.” was a qualified

individual for purposes of the Rehabilitation Act and ADA, regarded as having a mental

impairment and/or medical condition that substantially limited one or more of his major

life activities (and thus disabled). J.J. was also discriminated against by reason of his

disability.

73.     A majority of circuits have held, for purposes of Rehabilitation Act and ADA

claims, that one may prove intentional discrimination by showing that a defendant

acted with deliberate indifference. The Fifth Circuit has declined to follow the majority

view.    Nevertheless, intent can      never be shown        with certainty.       Direct and

circumstantial evidence can be used to support an "intent" jury finding, and allegations

in this pleading show that there is more than enough of both.

74.     Bexar County’s failure and refusal to accommodate J.J.’s          mental disabilities

while in custody violated the Rehabilitation Act and the ADA. Such failure and refusal

caused, proximately caused, and was a producing cause of J.J.’s death and the

Plaintiffs' damages.

75.     Bexar County’s violations of the Rehabilitation Act and the ADA included its

failure to reasonably modify its facilities, services, accommodations, and programs to

reasonably accommodate J.J.’s mental disabilities. These failures and refusals, which

were intentional, proximately caused J.J.'s        death and the Plaintiffs' damages.

Because J.J.’s death resulted from Bexar County’s intentional discrimination against


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him, the Plaintiffs are entitled to the maximum amount of compensatory damages

allowed by law. The Plaintiffs seek all such damages itemized in the prayer and or body

in this pleading (including sections above giving appropriate and fair notice of the

Plaintiffs' 42 U.S.C. § 1983 claims and resulting damages) to the extent allowed by the

Rehabilitation Act and the ADA.

                               VI. CONDITIONS PRECEDENT

76.    All conditions precedent to assertion of the Plaintiffs' claims have occurred.

            VII. USE OF DOCUMENTS AT TRAIL OR PRETRIAL PROCEEDING

77.    The Plaintiffs intend to use at one or more pretrial proceedings and/or at trial all

documents produced by the Defendants in this case in response to written discovery

requests.

                                       VIII. JURY DEMAND

78.    The Plaintiffs demand a jury trial and will pay the appropriate fee.

                                          IX. PRAYER

79.    For these reasons, the Plaintiffs ask that the Defendants be cited to appear and

answer, and that the Plaintiffs have judgment for damages within the jurisdictional limits

of the court and against the Defendants, jointly and severally, as legally applicable, for:

       a)      actual damages of and for Teresita Lopez individually including but not
               necessarily limited to the following:

               •       loss of services that she would have received from her son, J.J.;
               •       expenses for J.J.’s funeral;
               •       past mental anguish and emotional distress resulting from and
                       caused by the death of her son, J.J.;
               •       future mental anguish and emotional distress resulting from and
                       caused by the death of her son, J.J.; and


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               •      loss of companionship and society that she would have received
                      from her son, J.J.;
       b)      actual damages of and for the Estate of Jesus Jose J.J. Lopez by and
               through Teresita Lopez including but not necessarily limited to the
               following:
               •      conscious pain and suffering; and
               •      funeral expenses;
       c)      exemplary/punitive damages for all Plaintiffs from Defendants;
       d)      reasonable and necessary attorneys' fees through trial and any appeals
               and other appellate proceedings;
       e)      court costs and all other recoverable costs;
       f)      prejudgment and postjudgment interest at the highest allowable rates;
               and
       g)      all other relief, legal and equitable, general and special, to which
               the Plaintiffs are entitled.

                                        Respectfully submitted,

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